
200 Md. 657 (1952)
90 A.2d 216
BARR
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 4, October Term, 1952 (Adv.).]
Court of Appeals of Maryland.
Decided July 15, 1952.
Before MARBURY, C.J., and DELAPLAINE, COLLINS, HENDERSON and MARKELL, JJ.
MARKELL, J., delivered the opinion of the Court.
This is an application for leave to appeal from denial of a writ of habeas corpus. Petitioner is imprisoned under sentence for ten years for violations of the narcotics laws. He alleges that he was twice arrested (the *658 second time while on bail for the first alleged offense) without a warrant by breaking into "an apartment" (not expressly, but inferentially alleged to be his) and not clearly, but perhaps by inference, that evidence was obtained by unconstitutional, unlawful search and seizure. These contentions could all have been made on motion for a new trial or on appeal, but not on habeas corpus. Loughran v. Warden, 192 Md. 719, 64 A.2d 712.
Application denied, with costs.
